UNITED STATES DISTRICT CGURT
WESTERN DISTRICT OF NEW YGRK

 

 

ALICIA PAGAN

Plaintiff(s),

MEDIA TIUN
CERTIFICA TION
17 - cv - 6073
V.
THE ClTY OF ROCHESTER, ET AL.
Defendant(s).
I hereby certify that:
[::| The mediation session scheduled for has been adjourned to

|:] Case settled prior to the first mediation session.
Mediation session was held on 02/22/2018 .
\:l Case has settled. (Comrnent if necessary).

-Case has not settled. Mediation will continue on

 

m Case has not settled. Mediation is complete The case will proceed toward trial
pursuant to the Court‘s scheduling order.

Date: 02/22/20l8 Mediator: /S/ Joseph B. Rizzo

 

Aa'ditional Comments:
Mediation to continue on date to be determined

 

 

 

